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         12                                     UNITED STATES DISTRICT COURT
         13                                  NORTHERN DISTRICT OF CALIFORNIA
         14          SURGICAL INSTRUMENT SERVICE                     Case No. ________________________
         15          COMPANY, INC.,
         16                                                          1. SHERMAN ACT § 1 - TYING
                                       Plaintiff,
                                                                     2. SHERMAN ACT § 1 – EXCLUSIVE
         17                 vs.                                      DEALING
         18          INTUITIVE SURGICAL, INC.,                       3. SHERMAN ACT § 2 - MONOPOLY

         19                                                          4. SHERMAN ACT § 2 – ATTEMPTED
                                       Defendant.
                                                                     MONOPOLY
         20                                                          5. VIOLATION OF LANHAM ACT
         21
                                                                     JURY TRIAL DEMANDED
         22

         23
                                                           COMPLAINT
         24
                           Plaintiff Surgical Instrument Service Company, Inc (“SIS”) brings this Complaint against
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                   Defendant Intuitive Surgical, Inc. (“Intuitive”) for antitrust violations of tying, exclusive
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                   dealing, monopolization, and attempted monopolization under the Sherman Act, and unfair
         27
                   competition under the Lanham Act.


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               1                                                INTRODUCTION

               2               1.      SIS has 50 years of experience servicing surgical instruments and equipment

               3       ranging from simple devices such as forceps and scalpels to complex electromechanical devices

               4       such as flexible video endoscopes, powered orthopedic devices, and surgical video systems. SIS

               5       employs exhaustive inspection and repair procedures to ensure that previously used surgical

               6       instruments are only returned to the operating room in accordance with specifications. SIS’s

               7       services save health care providers and patients millions of dollars a year, reducing the per-surgery

               8       cost of procedures without compromising instrument operation or patient safety. SIS is a trusted

               9       nationwide partner for hospitals, health care systems, and group purchasing organizations

             10        (“GPOs”), including in this District.

             11                2.      Since the late 1990’s, defendant Intuitive has been the leading provider of robotic

             12        surgery systems for minimally invasive soft tissue surgeries. In contrast to operating directly on a

             13        patient, the surgeon using Intuitive’s system remotely operates a multi-arm “da Vinci” surgical

             14        robot from a console that receives video of the surgical site and includes means for precisely

             15        controlling the movement and operation of surgical tools known as EndoWrists. EndoWrists

             16        include traditional surgical tools such as forceps and scalpels and are attached to the robotic arms

             17        based on the type of surgery to be performed. The robotic arms include motors that control cables

             18        within the EndoWrist in response to the surgeon’s inputs, allowing precise multi-axis movement

             19        of the “wrist” of the surgical tool that is not possible in traditional surgeries.

             20                3.      Intuitive has monopoly power in the relevant markets of surgical robots for

             21        minimally invasive surgeries, the instruments used in such surgeries, and the servicing of those

             22        surgical robots, with a 99%+ market share. In the early 2000’s, Intuitive’s Form 10-K filings noted

             23        a use counter to limit the number of operations performed with EndoWrist instruments, and

             24        acknowledged its strategy to “sell the instrument for a fixed number of uses or hours and

             25        effectively price our EndoWrist instruments on a per-procedure or per-hour basis.” As Intuitive

             26        has since gained and exercised monopoly power in the relevant markets, this strategy has become

             27        extremely profitable. Although revenue from the da Vinci robots initially exceeded revenue from


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               1       instrument and accessory sales, by fiscal year 2013 Intuitive’s revenues from instruments and

               2       accessories surpassed da Vinci robot revenue. By fiscal year 2019 instrument and accessories

               3       revenue exceeded $2.4 billion, or more than a $1 billion more than sales of da Vinci systems.

               4       Although Intuitive does not break out its gross profit for instruments alone, its gross profit on

               5       instruments and da Vinci systems is over 70%.

               6              4.      In connection with the purchase or lease of da Vinci Surgical products, Intuitive

               7       requires customers to enter into a Terms and Conditions Agreement ("Sales Agreement") and a

               8       Use, License and Service Agreement ("ULSA"). In connection with the agreements required to

               9       purchase or lease an Intuitive robotic surgical system, Intuitive demands that customers further

             10        agree to a limited license for the use of EndoWrist instruments. The limited license expires once

             11        an EndoWrist instrument is used up to its maximum number of uses as specified in the

             12        documentation accompanying the particular instrument. Intuitive’s ULSA prohibits customers

             13        from engaging any unauthorized third party to repair, refurbish, or recondition EndoWrist

             14        instruments, whether before or after the limited use license has expired. Further, if a customer has

             15        or attempts to have an EndoWrist instrument repaired, refurbished or reconditioned, Intuitive has

             16        threatened to terminate the entire Use, License and Service Agreement with the customer

             17        immediately upon written notice, and any warranties applicable to the da Vinci robotic surgical

             18        system will become void. Intuitive has advised its customers that should Intuitive or its personnel

             19        determine, after having accepted a service call or a purchase order for a service call, such as after

             20        an Intuitive Field Service Engineer arrives at a customer’s site for a service call, that the da Vinci

             21        robotic surgical system has been used with EndoWrist instruments refurbished or modified by any

             22        unauthorized third party, Intuitive will no longer provide any service for the customer’s entire

             23        robotic system.

             24               5.      Plaintiff SIS has detailed procedures for servicing used EndoWrists to original

             25        specifications and returning them to service. These procedures include disassembly of the

             26        EndoWrist, inspection of all components, adjustment of components as necessary, confirming all

             27        movements, and setting a counter to Intuitive’s original counter value. While these procedures are


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               1       extensive and return the EndoWrist to original performance specifications, the cost to the hospital

               2       is a fraction of what Intuitive charges to buy a new EndoWrist. In 2019 and 2020, SIS entered

               3       into contracts and was in discussion for other contracts to provide EndoWrist repair services to

               4       numerous hospitals, health care systems, and GPOs. The cost savings were so substantial that one

               5       of the nation’s largest health care systems awarded SIS’s EndoWrist repair program a prestigious

               6       annual award for cost savings. Revenues for SIS, and savings to hospitals and patients, were

               7       anticipated to be in the tens if not hundreds of millions of dollars.

               8              6.       When Intuitive discovered that its customers were using SIS’s services, it

               9       immediately leveraged its anti-competitive agreements and monopoly power to crush this threat

             10        to its supra-competitive EndoWrist profitability. Intuitive’s agreements with hospitals include

             11        numerous restrictive terms that allow Intuitive to render the da Vinci robots effectively inoperable,

             12        and it threatened to exercise those terms against hospitals that used SIS’s services. Intuitive also

             13        made misleading statements that use of refurbished EndoWrists would violate FDA requirements

             14        and intellectual property rights.

             15               7.       Despite the massive savings to hospitals and patients from SIS’s EndoWrist

             16        program, SIS’s customers and potential customers had no choice but to capitulate to Intuitive’s

             17        threats. Because of Intuitive’s monopoly power in minimally invasive surgical robots, the

             18        instruments for those robots, and the servicing of those robots, there are no realistic alternative

             19        suppliers in those relevant markets. Health care providers have made massive capital investments

             20        in da Vinci robots, surgeons are specifically trained to perform surgery with those robots, and a

             21        large number of patients choose da Vinci robotic surgeries despite a significantly higher out-of-

             22        pocket cost. To lose access to existing da Vinci robots would not only waste an expensive capital

             23        investment, but would effectively foreclose hospitals and surgeons from performing certain types

             24        of surgeries.

             25               8.       Intuitive’s anti-competitive conduct cannot be justified by any purported safety or

             26        regulatory requirements. All components of the EndoWrists are medical-grade materials that are

             27        capable of many times more uses than permitted by Intuitive’s unilaterally programmed counter.


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               1       SIS’s services ensure that the inspected or repaired EndoWrists meet all original specifications,

               2       and SIS sets the instrument counter to the original value provided by Intuitive. In sum, the only

               3       purpose of Intuitive’s anti-competitive conduct is to maintain supra-competitive “per-procedure”

               4       EndoWrist pricing. By leveraging its monopoly power and anti-competitive agreements in this

               5       manner, Intuitive has violated the Sherman Act’s prohibitions on monopoly, attempted monopoly,

               6       exclusive dealing and tying, and the Lanham Act’s prohibition on unfair competition.

               7              9.      Intuitive is the dominant supplier of robotic surgical systems for minimally invasive

               8       soft tissue surgeries. Intuitive essentially has no competition in this market. Additionally, Intuitive

               9       is the dominant supplier of instruments used with minimally invasive soft tissue robots and the

             10        dominant supplier of servicing for the robots -- essentially having no competition in either of these

             11        markets as well.

             12               10.     Intuitive has used its monopoly power in the EndoWrist instrument replacement

             13        aftermarket, as well as in the servicing of surgical robots, to engage in a variety of anticompetitive

             14        practices. These exclusionary practices essentially prevent hospitals, health care systems, and

             15        GPO’s from having access to competitors that offer to repair and refurbish EndoWrist instruments

             16        which have been previously used.

             17               11.     Intuitive wields its monopoly power in the market for robotic soft tissue surgery

             18        systems to coerce hospitals, health care systems, and GPO’s to act in ways that have

             19        anticompetitive effects thus harming competition. Such coercion is backed up by Intuitive’s

             20        threats to withhold technical support and servicing for the robotic surgery systems purchased by

             21        hospitals, health care systems, and GPO’s and to deny those customers access to additional and/or

             22        replacement EndoWrist instruments.

             23                                                     PARTIES

             24               12.     Plaintiff Surgical Instrument Service Company, Inc. is an Illinois corporation with

             25        a principal place of business at 151 N. Brandon Drive, Glendale Heights, Illinois.

             26               13.     Defendant Intuitive Surgical, Inc. is a Delaware corporation with a principal place

             27        of business at 1020 Kifer Road, Sunnyvale, California.


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               1                                            JURISDICTION AND VENUE

               2               14.         Jurisdiction - This Court has subject matter jurisdiction over this action pursuant to

               3       28 U.S.C. §§ 1331 and 1337(a) and 15 U.S.C. §§ 15, 22, and 1121. Defendant has been engaged

               4       in interstate commerce during all relevant times of the Complaint.

               5               15.         Jurisdiction - This Court has personal jurisdiction over Defendant due to its

               6       business activities in this District, including Defendant being headquartered in this District.

               7               16.         Venue is proper under 15 U.S.C. § 22 and 28 U.S.C. § 1391(b) and (c). Intuitive is

               8       headquartered in this District and a substantial part of the events giving rise to all claims occurred

               9       in this District.

             10                17.         Intradistrict Assignment – Pursuant to Civil L.R. 3-2(c), the present action is an

             11        antitrust action that is assigned on a district-wide basis.

             12                                              GENERAL ALLEGATIONS

             13                        I.         SIS’S SURGICAL INSTRUMENT REPAIR BUSINESS

             14                18.         Founded in 1971, SIS has been a leader in surgical instrument and equipment

             15        service and repair for 50 years. During this time, SIS has safely and effectively serviced millions

             16        of surgical instruments for health care providers. SIS’s best-in-class team, equipment, and

             17        processes are trusted by hundreds of hospitals throughout the country, including hospitals in this

             18        District. SIS does not merely inspect and repair surgical instruments, but also functions as an

             19        operational partner for its client hospitals, improving their operations and processes.

             20                19.         SIS services a wide variety of instruments, ranging from relatively simple

             21        mechanical devices such as traditional standard and laparoscopic instruments to complex

             22        instruments such as electrical and pneumatic saws and drills, a wide range of optical and video

             23        endoscopes, and surgical video equipment. Based on the FDA’s Quality Systems Regulation

             24        (QSR) and current Good Manufacturing Practices (cGMP), SIS develops inspection and repair

             25        processes that ensure that any equipment returned to the hospital or surgical field will function

             26        properly.

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               1              20.      Based on this extensive experience with a wide range of surgical instruments, SIS

               2       is intimately familiar with the capabilities and lifespan of medical grade materials and components

               3       such as stainless steel, composites, and tungsten used in such devices. SIS technicians employ

               4       industry-leading procedures for inspection, alignment, sharpening, electrical insulation test, and

               5       additional necessary steps to return instruments to the field with confidence. Instruments that are

               6       regularly serviced by SIS are capable of dozens, hundreds, or thousands of uses over their lifetime,

               7       depending on the type of equipment and materials.

               8              21.      SIS’s services, and those like it, are essential to the safe and cost-effective operation

               9       of hospitals throughout the country. SIS’s preventative maintenance and inspection services

             10        ensure that instruments used in medical procedures and surgeries are safe. Its repair services

             11        substantially extend the life of surgical instruments, resulting in substantial savings for health care

             12        providers and patients.

             13               II.      INTUITIVE’S DA VINCI SURGICAL ROBOTS AND ENDOWRISTS

             14               22.      For over 20 years, Intuitive has developed and sold the “da Vinci” line of minimally

             15        invasive surgical robot systems. A previous generation of da Vinci surgical robots that is currently

             16        being phased out is called the “Si,” while the most recent “Xi” version was launched in 2014.

             17        Additional versions of these systems also exist under the X and SP monikers. Collectively, there are

             18        over 3,500 da Vinci robotic surgery systems employed by United States hospitals and surgery

             19        centers, and over 5,500 worldwide.

             20               23.      The da Vinci system generally includes a multi-arm surgical robot (left), surgeon’s

             21        console (center), and a vision cart (right):

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                              24.     A new da Vinci system, including the surgical robot vision cart, typically costs
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                       more than $2.0 million. Although Intuitive has begun leasing the da Vinci system to some
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                       customers, the vast majority (> 85%) of active da Vinci systems are purchased by hospitals as
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                       capital equipment.
             14
                              25.     The instruments used in the surgical procedure are attached to the arms of the
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                       surgical robot, and the surgical robot is positioned relative to the target surgical region of the
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                       patient. All of the 80+ instruments used with da Vinci robots are supplied by Intuitive under its
             17
                       EndoWrist brand. EndoWrist instruments are the only FDA-approved instruments for use with
             18
                       the da Vinci systems.
             19
                              26.     In a typical procedure, a number of small incisions are made to provide the
             20
                       EndoWrist surgical instruments access to the target surgical region. A camera provides high-
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                       definition 3D images to the surgeon at the surgeon’s console and to other operating room personnel
             22
                       via a large screen of the vision cart. The surgeon directs the surgery by manipulating controllers
             23
                       on the console, which allow for precision control of the robot arms and EndoWrist instruments.
             24
                       This allows the surgeon to specify movements on a scale that is at least an order of magnitude less
             25
                       than the surgeon’s actual hand movements at the console.
             26
                              27.     The surgical instruments located at the end of the EndoWrists, such as scalpels,
             27
                       clamps, forceps, scissors, and needle drivers, are substantially identical to similar instruments used

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               1       in traditional surgeries. In fact, Intuitive reported to the FDA that EndoWrists and traditional

               2       surgical instruments “are essentially identical… in terms of shape, size, function, and tissue

               3       effect,” “are substantially equivalent in intended use and/or method of operation,” and

               4       “demonstrate substantial equivalence ... in terms of safety and effectiveness.” The FDA agreed

               5       and “determined the [EndoWrist] device” is “substantially equivalent” to the traditional devices,

               6       and thus granted EndoWrist 510(k) certifications based on these predicate devices. EndoWrist

               7       devices are constructed from traditional medical grade materials, such as stainless steel,

               8       composites, and tungsten cables.

               9              28.     An example of the working end of an EndoWrist Force Bipolar instrument is

             10        depicted in the image below:

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             19               29.     Many of the EndoWrist instruments have a wide degree of motion at the working

             20        tip of the instrument, capable of rotation in multiple planes, and providing an extra level of

             21        dexterity that is not available in traditional surgical instruments. The movement at the instrument

             22        tip is controlled by tungsten cables located within the EndoWrist. These tungsten cables are

             23        actuated by internal pulleys of the EndoWrist that mechanically interface with motors within the

             24        robot arms of the da Vinci system. The motors within the robot arms in turn cause the movement

             25        of the instrument tip commanded by the surgeon by changing the position of the pulleys and

             26        tungsten cables. For the vast majority of EndoWrist instruments, these mechanical components

             27        provide for all controls of the instrument tip within the EndoWrist.


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               1                30.   EndoWrists also include an internal memory chip. The internal chip does not

               2       control the movement of the EndoWrist instrument tip, but instead stores certain information about

               3       the particular EndoWrist, including a model number specific to the type of EndoWrist, a part ID

               4       specific to the particular EndoWrist, a chip ID for the chip itself, and a counter value for the

               5       particular EndoWrist.

               6                31.   The counter counts the number of times the EndoWrist is attached to a da Vinci

               7       robot arm, not an actual measure of usage such as usage time, number of movements, or actuation

               8       time. The chip also does not monitor the components of the EndoWrist for conditions that would

               9       be indicative of failure, such as the lack of response of the instrument tip to requested movement

             10        or a motor requiring excessive force to cause a desired movement of the tungsten cables.

             11                 32.   The da Vinci robot system queries the memory chip prior to performing any

             12        operations with the particular EndoWrist instrument. After a certain number of uses, usually

             13        limited to ten, the EndoWrist instrument is rendered non-operational, based solely on the number

             14        of times it is attached to a da Vinci robot arm, without any regard to the actual underlying physical

             15        condition of the EndoWrist instrument. Without the services of providers such as SIS, the hospital

             16        has no choice but to buy a brand-new replacement EndoWrist instrument from Intuitive at full

             17        price.

             18                                III.   SIS’S ENDOWRIST REPAIR BUSINESS

             19                 33.   Services of the type performed by SIS are permitted by the FDA. SIS has properly

             20        repaired millions of surgical devices and instruments over its 50 years in business as an

             21        independent services operator. After service by SIS, the surgical device or instrument is returned

             22        to the customer for its original intended use. Indications for use are not affected, and the surgical

             23        device or instrument is returned to its original safety and effectiveness.

             24                 34.   SIS has created a program for the inspection and repair of EndoWrist instruments.

             25        The SIS repair procedures include an initial disassembly and inspection, checking the mechanical

             26        operation and integrity of all mechanical components, an electrical integrity check to confirm that

             27        electrical insulation, cleaning, sharpening or alignment of the instrument tip, and a series of tests


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               1       to confirm that all the movements of the instrument tip are within original specifications. SIS also

               2       sets the counter to a value corresponding to the initial setting of a new EndoWrist instrument.

               3              35.      These procedures are similar to procedures that SIS has performed for decades on

               4       dozens of types of surgical instruments and medical devices of similar or greater complexity. The

               5       materials of the EndoWrist instruments are the same medical grade materials that typically last

               6       through hundreds of surgeries and autoclave cycles in other surgical instruments and in medical

               7       devices.     Particularly after completion of SIS’s rigorous set of procedures, the EndoWrist

               8       instruments are suitable for many more uses, and at least a number of uses equivalent to Intuitive’s

               9       originally specified usage limit. In fact, independent testing has shown that EndoWrist instruments

             10        serviced by SIS are suitable for 50 or more uses. Nonetheless, SIS returns the counter value to the

             11        original value specified by Intuitive.

             12               36.      Throughout 2019 and 2020, SIS spoke with numerous hospitals, health care

             13        systems, and GPOs regarding its EndoWrist repair and refurbishment offering. These health care

             14        providers universally conveyed their frustration with Intuitive and its abusive business practices.

             15        In sum, Intuitive’s aggressive and ever-changing tactics for extracting an exorbitant per-surgery

             16        fee for EndoWrists is financially damaging for hospitals and results in excessive costs for patients.

             17               37.      Accordingly, SIS entered into service contracts with a number of health care

             18        providers, including health care providers in this District and a nationwide GPO. Many of these

             19        health care providers were existing SIS customers, such that the ramp up for performing

             20        incremental services on EndoWrist instruments would be minimal. SIS was also in late-stage

             21        negotiations with numerous additional health care providers, including a number of large health

             22        care systems. These agreements and other likely customers would have been worth millions in

             23        annual revenue to SIS.

             24               38.      SIS has the experience, facilities, equipment, and personnel to perform inspection

             25        and repair for EndoWrist instruments nationwide. Just based on its initial contracts, SIS was

             26        prepared to service at least 1,500 EndoWrists a month. Based on potential agreements and SIS’s

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               1       existing experience and capacity, SIS could have easily ramped up these services to service

               2       thousands of additional EndoWrist instruments a month.

               3              39.       SIS charges approximately 30-45% less per EndoWrist than what a hospital would

               4       have to pay to buy a replacement EndoWrist from Intuitive.

               5              40.       While this is a substantial revenue source for SIS, these revenues pale in

               6       comparison to the cost savings to hospitals by using SIS to service EndoWrist instruments rather

               7       than throwing away and purchasing new EndoWrist instruments from Intuitive. The vast majority

               8       of Intuitive’s $2.4 billion in annual instrument sales is for replacement EndoWrists, a large

               9       proportion or majority of which would not be needed under SIS’s competitive offering. Indeed,

             10        even at its inception the cost savings for SIS’s EndoWrist repair program were so substantial that

             11        one of the health care systems awarded the program its prestigious annual award for health care

             12        cost savings.

             13               41.       Unfortunately for health care providers and patients, Intuitive became aware of

             14        SIS’s repair program and its relationships with certain health care providers. Intuitive immediately

             15        embarked on a scorched-earth pressure campaign to put SIS out of the EndoWrist repair business.

             16        And it worked. Faced with coercive threats from the monopoly provider of robotic surgical

             17        systems to effectively disable their expensive surgical robots, all of the health care providers

             18        backed out of SIS’s EndoWrist repair program.

             19               42.       In just the last year, health care providers and patients have had to pay hundreds of

             20        millions of dollars for unnecessary replacement EndoWrist instruments based on Intuitive’s anti-

             21        competitive conduct. Intuitive’s monopoly power and its anti-competitive use of that power are

             22        detailed in the following sections.

             23              IV.       INTUITIVE’S MONOPOLY POWER IN THE RELEVANT MARKETS

             24               43.       There are three relevant markets for purposes of this action: (1) the worldwide and

             25        domestic market for surgical robots used in minimally invasive soft tissue surgery; (2) the

             26        worldwide and domestic market for repair and maintenance for surgical robots used in minimally

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               1       invasive soft tissue surgery; and (3) the worldwide and domestic market for replacement or repair

               2       of instruments for use with surgical robots used in minimally invasive soft tissue surgery.

               3                  44.   Intuitive has monopoly power in (1) the worldwide and domestic market for

               4       surgical robots used in minimally invasive soft tissue surgery, (2) the worldwide and domestic

               5       market for repair and maintenance for surgical robots used in minimally invasive soft tissue

               6       surgery, and (3) the worldwide and domestic market for replacement or repair of instruments for

               7       use with surgical robots used in minimally invasive soft tissue surgery, such that Intuitive is able

               8       to exclude virtually all competition and charge supra-competitive prices in those markets. With

               9       respect to the “repair” aspect of (3), Intuitive has leveraged its monopoly power in robots and

             10        instruments, and service of those robots, to prevent any repair services from existing and

             11        competing within the EndoWrist instrument aftermarket.

             12               (1) The Market for Surgical Robots Used in Minimally Invasive Soft Tissue Surgery

             13                   45.   Intuitive’s da Vinci surgical robots are primarily used in minimally invasive soft

             14        tissue surgery. Initially cleared by the FDA in 1999, the da Vinci robot was the only FDA-cleared

             15        surgical robot until 2015. As of 2015, Intuitive had over 3,500 active da Vinci surgical robots at

             16        hospitals worldwide.

             17                   46.   The market for minimally invasive soft tissue surgery using surgical robots is

             18        distinct from minimally invasive procedures performed without surgical robots, primarily

             19        due to the advantages that robotic surgery provides and the public perception which comes with

             20        those advantages.

             21                   47.   In a traditional laparoscopic surgery performed without a da Vinci robot, a number

             22        of trocars are placed through the skin in the target area, and function as placeholders for the surgical

             23        instruments or other devices subsequently used to perform the surgery. The surgical instruments

             24        and a 2-dimensional camera are then manipulated through a number of small incisions in the target

             25        area of the patient, while being manipulated or held by the surgeon(s), nurse(s), surgical

             26        assistant(s), and physical supports. More complex laparoscopic surgeries typically require more

             27        trocars.


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               1              48.     Like laparoscopic surgery, minimally invasive robotic surgeries are advantageous

               2       over traditional open surgeries, in that the surgery is performed through a number of small incisions

               3       rather than a large incision of open surgery, resulting in decreased infection rates, faster recovery,

               4       and better patient outcomes. But da Vinci robot surgeries also have substantial advantages over

               5       laparoscopic surgeries. Rather than physically holding surgical instruments or attaching them to

               6       physical supports, the da Vinci robotic surgeries have precision robot arms that accurately hold

               7       instrument working tips in position without causing physical strain. The surgeon is seated at an

               8       ergonomic console viewing a 3D image of the surgical region. The surgeon is not limited by his or

               9       her own physical dexterity in manipulating surgical instruments, but can instead make large scale

             10        movements at the console that are translated to precision microscopic movements of surgical

             11        instruments. Most of the EndoWrist surgical instruments have a precision-controlled full range of

             12        motion about multiple axes at the working end of the instrument, as compared to the limited range

             13        of motion and limited precision available with just the human wrist and fingers. Based on the

             14        advantages of robotic surgery, some procedures such as prostatectomies are frequently performed

             15        by surgeons that exclusively operate using surgical robots.

             16               49.     Intuitive, many hospitals, many doctors, and many patients believe that minimally

             17        invasive robotic surgeries are superior to laparoscopic surgeries. For example, Intuitive advertises

             18        that da Vinci surgeries provide “improved outcomes” and “fewer complications” than non-robotic

             19        surgery options. A number of clinical studies support the claim that minimally invasive robotic

             20        surgeries are more effective and safer than laparoscopic surgery. There is a perception among

             21        many doctors and patients that minimally invasive robotic surgeries are safer and more effective

             22        than traditional laparoscopic surgeries. Perceptions are such that Intuitive states that “100% of the

             23        top-ranked U.S. hospitals for cancer, urology, gynecology and gastroenterology diseases all use

             24        da Vinci surgical systems” and “100% of top-ranked U.S. hospitals own at least one da Vinci

             25        System.”

             26               50.     There is hardly any cross-elasticity of demand between minimally invasive robotic

             27        surgical procedures and laparoscopic procedures. The estimated per-surgery cost of the robot,


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               1       instruments, equipment, and service for robotic surgery is over three times as much as the

               2       comparable costs for laparoscopic surgery, at over $3,500 versus under $1000. Most insurance

               3       plans pay the same amount for minimally invasive robotic surgery and laparoscopic surgery, such

               4       that patients pay much more out of pocket for minimally invasive robotic surgery and hospitals

               5       have lower (and sometimes negative) margins on minimally invasive robotic surgery. Despite the

               6       substantial financial incentives for both patients and hospitals to prefer laparoscopic surgery, the

               7       estimated procedure volume for robotic surgery increased from 136,000 in 2008 to 877,000 in

               8       2017 for a compounded annual growth rate of 23%. Id. In sum, an increase in the cost of a

               9       minimally invasive surgical robot, instruments, and service does not lead doctors or patients to

             10        choose laparoscopic or traditional surgery equipment instead, nor would a change in the cost of

             11        traditional or laparoscopic equipment affect the market for minimally invasive surgical robots,

             12        instruments, and service.

             13               51.     Indeed, many surgeons specialize in minimally invasive robotic surgeries to the

             14        exclusion of laparoscopic surgery. According to Intuitive’s annual report for fiscal year 2019,

             15        surgeons have performed approximately 1.2 million surgeries with da Vinci robots over the last 20

             16        years. Professional and trade associations such as the Society of Robotic Surgery and the Clinical

             17        Robotic Surgery Association are focused on robotic surgery.

             18               52.     Hospitals that do not have robots such as the da Vinci robots for minimally invasive

             19        robotic surgeries are unable to recruit an entire cohort of surgeons and lose out on a large volume

             20        of potential surgeries. Because many surgeons perform almost exclusively robotic surgeries, many

             21        doctors will go to extraordinary measures to gain access to da Vinci surgical robots, including

             22        performing surgery from multiple hospitals and scheduling surgery in the middle of the evening to

             23        gain access to a da Vinci robot.

             24               53.      The market for surgical robots used in minimally invasive soft tissue surgery

             25        is distinct from the market(s) for other robotic surgeries. Intuitive is the owner of a large

             26        portfolio of patents that have blocked competitors from entering into the surgical robot market for

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               1       minimally invasive soft tissue surgery. Intuitive also invests heavily to ensure that doctors and

               2       medical students are trained to use, and ultimately become dependent on, the da Vinci system.

               3              54.      Most non-Intuitive surgical robots target entirely different types of surgeries than

               4       multi-incision minimally invasive soft tissue surgery.             Stryker’s Mako surgical robots,

               5       Smith+Nephew’s Cori system, and Zimmer Biomet’s Rosa platform are used for orthopedic

               6       surgeries such as knee and joint replacements. Siemen’s Corindus surgical robots are used for

               7       coronary and peripheral vascular procedures. Medrobotics received FDA clearance for its Flex

               8       robot for use in natural orifice surgeries. Titan Medical surgical robots is seeking to release a

               9       surgical robot limited to single-port surgery. None of these robots compete with Intuitive’s da

             10        Vinci robots, or in the minimally invasive surgical robot market.

             11               55.      The few companies that purport to sell robots for minimally invasive surgery have

             12        virtually no sales. Medical device company Asensus (formerly known as TransEnterix) received

             13        FDA clearance for a minimally invasive surgical robot, the Senhance Surgical Robotic System, in

             14        October 2017. However, this robot does not perform numerous surgeries that can be performed

             15        with a da Vinci robot, such as cardiothoracic surgery, urologic surgery, and a number of other

             16        procedures. In 2019, Asensus shipped 4 Senhance surgical robots worldwide, none of which were

             17        in the United States. In contrast, in 2019, Intuitive shipped 1,119 da Vinci surgical robots

             18        worldwide, including 728 in the United States.             Other medical device companies, such as

             19        Medtronic, have plans to enter the minimally invasive robot market, but they have no market share

             20        as their products are in the development stage.

             21               56.      Intuitive’s long-time market dominance provides numerous advantages that prevent

             22        competition in the market for minimally invasive surgical robots. No other company that sells or

             23        has plans to sell a surgical robot has a comparable patent portfolio to the dozens of patents that

             24        cover Intuitive’s da Vinci robots. Nor do they have the installed base of thousands of robots at

             25        hospitals in the United States and worldwide, or the thousands of surgeons who have undergone

             26        extensive training specific to da Vinci robots and since performed hundreds of surgeries with da

             27        Vinci robots.


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               1              57.      As confirmed by Intuitive’s market dominance, it is extremely difficult for

               2       competitors to enter the robotic surgery market. FDA clearance takes five to ten years and costs

               3       tens or hundreds of millions of dollars from concept to FDA approval, and may require premarket

               4       approval, which is much more difficult than 510(k) premarket clearance. Similar regulatory

               5       hurdles exist in other jurisdictions, such as the European Union.

               6              58.      Accordingly, Intuitive has a 99% market share in the worldwide and domestic

               7       markets for surgical robots used in minimally invasive soft tissue surgery. Indeed, Intuitive’s

               8       dominance in the robotic surgery market is so great that even if surgical robots used for entirely

               9       different procedures such as orthopedic surgery are considered, recent estimates of Intuitive’s

             10        overall share of the robotic surgery market range for 77% - 80%.

             11               59.      The installed base of da Vinci robots and the prevalence of da Vinci-trained surgeons

             12        precludes new products from gaining market share in the market for minimally invasive surgical

             13        robots. Intuitive has an installed base of over 5,500 da Vinci robots worldwide. Switching to a

             14        different surgical robot system would be costly for hospitals, requiring them to purchase expensive

             15        new robots. A switch would meet substantial resistance from doctors, who would need to abandon

             16        the da Vinci surgical methods they have been performing for years (for some, their entire careers),

             17        and re-learn how to perform surgeries with different surgical robots. At a 99% market share,

             18        including “100% of top-ranked hospitals,” the resistance to change does not only affect the few

             19        hospitals which do not have da Vinci robots. It affects an enormous portion of the available

             20        consumer base.

             21               60.      Intuitive’s market power allows it to obtain supra-competitive margins on its

             22        product sales. Although Intuitive does not distinguish between robot and instrument sales for gross

             23        margin, its 2019 form 10-K demonstrates over 70% gross margin for robots and instruments.

             24        Intuitive’s net margin is over 30% based on $1.38 billion in net income on $4.48 billion of total

             25        revenue.     These margins are significantly higher than margins for typical medical device

             26        companies, surgical robotic companies, or other companies that make complex medical

             27        equipment.


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               1                 61.    In sum, Intuitive has monopoly power in the worldwide and domestic markets for

               2       the sale of surgical robots used in minimally invasive soft tissue surgery. Intuitive is able to and

               3       does exclude competition and maintain prices for da Vinci robot systems at supra-competitive

               4       levels.

               5                 (2) The Market for Service of Robots Used in Minimally Invasive Soft Tissue Surgery

               6                 62.    Intuitive extends its market power in the worldwide and domestic markets for the

               7       sale of surgical robots used in minimally invasive soft tissue surgery to the market for repair and

               8       support services for their robots.

               9                 63.    Once a customer makes the purchase of a DaVinci robot, the only practical service

             10        option is service and repair services offered by Intuitive.

             11                  64.    Hospitals are dependent on these robot maintenance services for the continued

             12        operation of their essential da Vinci robots. The services include “provid[ing] and

             13        install[ing]Software upgrades,” “replac[ing] defective malfunctioning System parts,” and

             14        “replac[ing] and install[ing] Software, Hardware, and mechanical parts for safety.” Each of these

             15        services can only be obtained from Intuitive. And if these services are not provided—e.g., if a

             16        malfunctioning part is not replaced or the Software is not up to date—the da Vinci system will

             17        display a “NEEDS SERVICE” warning message on the display panel. Doctors will not perform a

             18        surgery with a machine indicating that it “NEEDS SERVICE.” Nor will patients allow themselves

             19        to be operated upon by a machine that “NEEDS SERVICE.” Accordingly, when service is needed,

             20        the da Vinci robot is effectively rendered useless until service is provided by Intuitive. Hospitals

             21        cannot afford to have useless da Vinci robots. Da Vinci robots are large capital investments, and

             22        ongoing da Vinci surgeries are necessary to recoup that investment. Functional da Vinci machines

             23        are also necessary to maintain the goodwill of the doctors and patients who have scheduled robotic

             24        surgeries.

             25                  65.    Intuitive leverages its market power in the worldwide and domestic markets for the

             26        sale of surgical robots used in minimally invasive soft tissue surgery, and the market for repair

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               1       services for their robots, to pressure its customers to use supra-competitively priced replacement

               2       EndoWrist parts.

               3               (3) The Market for Replacement and Repair of Instruments for Use with Surgical Robots

               4                                Used in Minimally Invasive Soft Tissue Surgery

               5              66.     Although Intuitive maintains a significant patent portfolio in its surgical robots, any

               6       blocking patents for its EndoWrist instruments are long expired. Intuitive maintains a “Patent

               7       Notice” web page for its products. Virtually all of the patents covering core structure and

               8       operations for the “EndoWrist” and “Accessories” are expired. The few patents that remain in

               9       force are related to specific instrument implementations and could not block a third party from

             10        selling competing instruments for use with Intuitive da Vinci robots. Intuitive instead uses

             11        technical and contractual means to ensure that only Intuitive-supplied EndoWrists are used with

             12        da Vinci robots.

             13               67.     One way Intuitive maintains EndoWrist exclusivity is by programing the da Vinci

             14        robots to require that any EndoWrist attached has an Intuitive serial number in order to operate.

             15        This tactic prevents third parties from manufacturing da Vinci compatible EndoWrists. Intuitive’s

             16        standard sales contract for da Vinci robots also prohibits customers from using the robot with any

             17        surgical instruments not made by or approved by Intuitive. Customers are left with access to only

             18        one source for EndoWrists—Intuitive.

             19               68.     Even if a third party were to successfully create an alternative EndoWrist, the

             20        alternative would have to get FDA approval before entering the market. This, in combination with

             21        the other mentioned factors, prevents EndoWrist alternatives from becoming available.

             22               69.     Instruments used for other types of surgical robots, such as orthopedic surgery

             23        robots, are not compatible with minimally invasive soft tissue surgery robots. Because they are

             24        used in different types of surgeries and do not operate in as small of spaces, they employ different

             25        tools and do not include multi-axis end-tool movement control in the same manner as EndoWrists.

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               1                  70.   Accordingly, Intuitive has a 99% market share for instruments used with minimally

               2       invasive soft tissue surgery robots, because 100% of instruments used with Intuitive da Vinci

               3       robots are sold by Intuitive.

               4                  71.   Intuitive’s market power in instruments used with minimally invasive soft tissue

               5       surgery robots is demonstrated by its lucrative revenue and profits in its EndoWrist business. By

               6       fiscal year 2019, instrument and accessories (primarily EndoWrists) revenue exceeded $2.4

               7       billion, or more than a $1 billion more than sales of da Vinci systems. Although Intuitive does not

               8       break out its gross profit for instruments alone, its gross profit on instruments and da Vinci systems

               9       is over 70%. Indeed, the bulk of Intuitive’s revenue and profit growth over the last decade has

             10        come from its sales of EndoWrist instruments, not robotic systems, as demonstrated from data

             11        from Intuitive’s 10-Ks from 2001 to 2019, below:

             12

             13            Year               2001      2002     2004     2004      2005       2006      2007      2008
             14            Instruments ($M)   $5.0      $10.1    $18.8    $37.5     $67.8      $111.7    $191.6    $293.0
             15            Systems ($M)       $44.2     $56.3    $61.8    $78.8     $124.6     $205.9    $324.4    $455.3
             16

             17            Year               2009     2010      2011      2012      2013      2014      2015      2016
             18            Instruments ($M) $389.4 $528.8 $701.1 $903.3              $1,033    $1,070    $1,198    $1,396
             19            Systems ($M)       $490.5 $660.3 $777.8 $932.9            $834.9    $632.5    $721.9    $800.0
             20

             21            Year               2017      2018     2019
             22            Instruments ($M)   $1,637 $1,962 $2,408
             23            Systems ($M)       $928.4 $1,127 $1,346
             24                   72.   Indeed, while Intuitive’s sales of robots were stagnant from 2012 – 2017, Intuitive’s
             25        EndoWrist sales increased by over $730 million dollars during that time period. As is described
             26        in the following paragraphs, the bulk of Intuitive’s EndoWrist windfall revenue, and thus the bulk
             27        of its corporate revenue and profitability, is based on its anti-competitive conduct that requires


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               1       hospitals to purchase replacement EndoWrists rather than repairing EndoWrists that are capable

               2       of many more uses at a significantly reduced price.

               3              73.     The vast majority of Intuitive’s EndoWrist revenue and profit, and thus its overall

               4       revenue and profit, comes from replacement EndoWrists. The da Vinci robots are typically in

               5       service for years, if not a decade or more, and EndoWrists provide a recurring revenue stream. In

               6       the words of Intuitive’s Form 10-Ks from the early 2000’s, EndoWrist instruments include a

               7       counter that allows it to “sell the instrument for a fixed number of uses or hours and effectively

               8       price our EndoWrist instruments on a per-procedure or per-hour basis.”

               9              74.     Specifically, the EndoWrist chip includes a counter that counts the number of times

             10        the EndoWrist is attached to a da Vinci robot arm. This is not an actual measure of usage such as

             11        usage time, number of movements, or actuation time. The chip does not monitor the components

             12        of the EndoWrist for conditions that would be indicative of failure, such as the lack of response of

             13        the instrument tip to requested movement or a motor requiring excessive force to cause a desired

             14        movement of the tungsten cables. The counter is set to a variety of values for different instruments

             15        such as 10, 12, 15, 18, 30, and 100. For virtually all EndoWrists instruments, the counter is set to

             16        the lower part of that range, and the vast majority of EndoWrist instruments have their counter set

             17        at 10 attachments.

             18               75.     Intuitive has unilaterally changed counter values for types of EndoWrist

             19        instruments and its pricing for those instruments. Intuitive has also unilaterally changed the

             20        instructions for use (IFU) for EndoWrist instruments to force early replacement, even if the counter

             21        value has not expired. For example, Intuitive issued an IFU for EndoWrist instruments setting a

             22        maximum number of autoclave cycles. Because of the way that da Vinci surgeries are prepped

             23        and performed, EndoWrist instruments often have to undergo an autoclave cycle even if not

             24        actually attached to a robot during surgery. The specified limit on autoclave cycles is extremely

             25        low compared to comparable devices made of similar medical grade materials. These unilateral

             26        changes substantially increase the per-surgery cost of EndoWrist instruments to hospitals, and

             27        Intuitive’s supra-competitive EndoWrist profits, without prior notice to hospitals. When hospitals


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               1       make the substantial capital and contractual commitment to purchase a da Vinci robot, they are

               2       unaware of these additional costs and lack information to predict Intuitive’s unilateral changes.

               3               76.     Intuitive does not provide hospitals any option for repair of the EndoWrist

               4       instrument after the counter has expired. Instead, once the counter has expired the hospital must

               5       purchase a new EndoWrist at a cost ranging from $2,250 - $3,750, without regard to whether the

               6       EndoWrist instrument was actually used in surgery or the extent of such use.

               7               77.     At least SIS has attempted to enter the market for repair of instruments for use with

               8       surgical robots used in minimally invasive soft tissue surgery, and specifically, for repair of

               9       EndoWrists. On information and belief, other companies similar to SIS have attempted to enter

             10        this market.

             11                78.     As described previously herein, SIS employs meticulous procedures to inspect, and

             12        as necessary, repair EndoWrist instruments.            Once the EndoWrist is returned to original

             13        specifications, SIS sets the counter to the same value originally programmed by Intuitive. Based

             14        on its 50 years of expertise in surgical equipment repair and the demonstrated safety and efficacy

             15        of its EndoWrist repair process, SIS entered into contracts and was in negotiations for contracts

             16        with hospitals, health care providers, and GPOs representing thousands of EndoWrists a year and

             17        tens of millions in revenue, just in the first year.

             18                79.     An EndoWrist serviced by SIS would cost only 55-70% of the cost of buying a

             19        replacement EndoWrist from Intuitive, and would be equally safe for the same number of

             20        subsequent uses.

             21                80.     Although SIS’s business was poised to grow substantially year-over-year, SIS’s

             22        expected sales of tens of millions of dollars in 2020 would still amount to less than 1% market

             23        share for replacement and repair of EndoWrists. SIS had obtained and was in the process of

             24        repairing EndoWrists from some of these initial customers, when Intuitive embarked on a

             25        scorched-earth campaign to put SIS out of the EndoWrist repair business. SIS repaired Endo

             26        Wrists that were successfully used in surgeries without any problems or incidents.

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               1                81.     In view of Intuitive’s 99% market share for minimally invasive soft tissue surgery

               2       robots, 100% market share for the servicing and support of those robots, and the 100% market

               3       share of instruments used with Intuitive da Vinci robots, Intuitive has leveraged its monopoly

               4       power in all these markets and engaged in other anti-competitive acts to prevent repair of

               5       instruments for use with surgical robots used in minimally invasive soft tissue surgery. Intuitive’s

               6       wrongful acts are described in the following section.

               7           V.         INTUITIVE’S MONOPOLIST TACTICS AND ANTI-COMPETITIVE ACTS

               8                82.     Intuitive has engaged in an anticompetitive course of conduct consisting of several

               9       primary anticompetitive practices.       Intuitive has harmed competition through and by these

             10        practices.

             11                 83.     One of Intuitive’s anticompetitive practices involves requiring its customers for the

             12        da Vinci robotic surgical system to agree to numerous restrictive terms that allow Intuitive to

             13        subsequently disable and effectively render the da Vinci robots inoperable at some later time (for

             14        example, by refusing to service the robots).

             15                 84.     A second anticompetitive practice involves unilaterally modifying the terms for

             16        EndoWrists once a hospital has invested in a da Vinci robot, such as unilateral changes in pricing,

             17        use limits, and restrictive instructions for use.

             18                 85.     A third anticompetitive practice employed by Intuitive involves refusing to provide

             19        hospitals, health care systems, and GPOs with an option to have their previously used EndoWrist

             20        instruments repaired after the internal counter has expired.

             21                 86.     A fourth anticompetitive practice used by Intuitive involves requiring customers

             22        who purchase its da Vinci robotic systems to agree that they will not permit the repair or

             23        refurbishment of any EndoWrist instruments by a third party.            If a customer violates this

             24        prohibition, Intuitive has threatened to void the warranties on the da Vinci robotic system,

             25        completely terminate the agreement with that customer, refuse to provide further service and

             26        support for the robotic system, and even render the surgical robot inoperable.

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               1              87.     An effect of Intuitive’s anticompetitive conduct is to generate and sustain

               2       unreasonably high, supra-competitive prices for aftermarket EndoWrist instruments.

               3              88.     Intuitive’s anticompetitive conduct effectively forecloses customers who have

               4       purchased da Vinci robotic surgery systems from having access to competitive sources of

               5       aftermarket EndoWrist instruments in violation of the Sherman Act Sections 1 and 2.

               6              89.     Through Intuitive’s coercive practices directed at da Vinci customers, it foreclosed

               7       rivals from supplying customers with aftermarket EndoWrist instruments through repair and

               8       refurbishment services. In so doing, Intuitive maintains its monopoly power in the EndoWrist

               9       instrument aftermarket which it has used to sustain unreasonably high replacement rates and supra-

             10        competitive prices.

             11               90.     Intuitive’s practices have the practical effect of preventing a buyer of a da Vinci

             12        robotic system from using the products and services of a potential competitor in the EndoWrist

             13        instrument aftermarket. Intuitive’s practices have prevented SIS’s entry as a rival into the

             14        EndoWrist instrument aftermarket.

             15               91.     On information and belief, Intuitive became aware that SIS was providing owners

             16        of da Vinci robots with repaired EndoWrist instruments in late 2019.

             17               92.     Between late 2019 to early 2020, Intuitive sent letters to and had in-person

             18        conversations with SIS’s customers or potential customers, knowing that they were under contract

             19        or in contractual negotiations for repaired EndoWrists. As a result of the threats and misleading

             20        statements in those letters and conversations, all of SIS’s EndoWrists customers backed out of

             21        their contracts or did not sign contracts under negotiation, effectively eviscerating SIS’s EndoWrist

             22        repair business.

             23               93.     In letters to SIS customers and potential customers, Intuitive claimed that repairs

             24        might lead to “degraded performance,” including “unintuitive motion,” “insufficient grip force,”

             25        “dull or damaged scissor blades,” and “worn/damaged cables.” To the contrary, under SIS

             26        procedures all of these aspects of EndoWrist performance, and numerous others, are inspected in

             27        detail and repaired as necessary to meet Intuitive’s original equipment specifications.


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               1              94.     Intuitive also alleged that “third party manufacturers or refurbishers may use non-

               2       validated or incompatible cleaning agents and/or disinfection/sterilization processes” or “may

               3       damage the instrument’s internal mechanisms that interface with the robotic system and allow

               4       Intuitive to monitor the device.” To the contrary, with years of experience working with millions

               5       of diverse devices that require sterilization procedures, SIS processes do not employ “incompatible

               6       cleaning agents and/or disinfection/sterilization processes.” Nor would SIS return a device to the

               7       customer that was damaged or could not interface properly with Intuitive’s robotic system.

               8              95.     In sum, if Intuitive had only alleged that SIS’s services might potentially cause

               9       these issues, SIS’s customers and potential customers would have had no worry whatsoever doing

             10        EndoWrist business with SIS. SIS has a sterling reputation of repairing surgical devices such as

             11        EndoWrists, and robust processes specific to the EndoWrists.

             12               96.     Intuitive instead asserted numerous threats and misleading statements by letter and

             13        in private conversations to prevent SIS from performing its repair services, and to maintain its

             14        monopoly profits in EndoWrists.

             15               97.     A first set of Intuitive’s misleading statements made by letter relates to FDA

             16        clearances. Couched in terms of “might prevent such products from performing” such that FDA

             17        and other regulations “may not apply,” Intuitive states without any basis that “the hospital has no

             18        way to know whether the refurbished instrument meets the rigorous specifications” of Intuitive

             19        and the FDA. Intuitive also states that “any modification to allow for use of a da Vinci product

             20        beyond its useful life exceeds the scope of the original clearance by expanding the FDA cleared

             21        indications for use” in violation in 21 U.S.C. § 351.

             22               98.     The components of the EndoWrists are medical grade parts with a useful life of

             23        dozens if not hundreds of uses. They will operate within specification, particularly when properly

             24        inspected and repaired as is performed by SIS. Intuitive’s allegation appears to be that use of

             25        EndoWrists beyond the counter limit is a violation of Intuitive’s FDA clearances. Based on FDA

             26        clearances that have been identified for EndoWrists to date, this assertion is incorrect. At most,

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               1       Intuitive merely mentions in its FDA applications that its devices have usage limits. Available

               2       510(k) summaries are silent on usage limits, and have no prohibitions whatsoever on repair.

               3              99.      A second misleading statement made by letter relates to unspecified “intellectual

               4       property rights in the da Vinci systems and its instruments” that “Intuitive believes it has[.]” SIS

               5       merely repairs EndoWrists, which according to Intuitive’s own Patent Notice webpage do not have

               6       any relevant patent rights that would cover SIS’s services. Nor are there any other intellectual

               7       property rights that SIS’s services would call into question.

               8              100.     Intuitive’s letters also inform SIS customers of certain “terms of [the customer’s

               9       agreements with Intuitive] that you might wish to consider.” According to Intuitive, such terms

             10        include prohibitions on “repair, refurbishment, or reconditioning” and another asserts that the

             11        hospital’s “license [for an EndoWrist] expires once an Instrument or Accessory is used up to its

             12        maximum number of uses[.]” Another term referenced by Intuitive states that the hospital will not

             13        “permit any third party to, modify, disassemble, [or] reverse engineer . . . the System or Instrument

             14        or Accessories.” Failure to comply with the latter term results in termination of the hospital’s

             15        “Agreement immediately upon written notice, and any warranties applicable to the system will

             16        become void.”

             17               101.     Notably, the Agreement that Intuitive is referring to and the remedies it is

             18        threatening are for the “System,” i.e., the surgical robot. These terms constitute attempts by

             19        Intuitive to constrain its customers with illegal exclusive dealing agreements, and constitute illegal

             20        tying of EndoWrists and EndoWrist related services to the original purchase of the da Vinci robot.

             21        These provisions are particularly egregious in view of Intuitive’s market power in the market for

             22        minimally invasive surgical robots.       The effectiveness of its exclusive dealing and tying

             23        requirements are proven by Intuitive’s market power in the market for replacement instruments

             24        for minimally invasive surgical robots, and its ability to completely foreclose the market for repair

             25        of such instruments.

             26               102.     Intuitive’s letters make its threats explicit—if the hospital uses repaired

             27        instruments, Intuitive will render its surgical robot inoperable. Not only will Intuitive seek


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               1       damages or indemnity from its customer, but if Intuitive discovers “Systems being used with

               2       instruments by an unauthorized third party, Intuitive may no longer accept your service calls for

               3       such Systems.” Because Intuitive also refuses to allow any competition in the market for service

               4       of its robots, and refuses to make error codes and other critical information available to third

               5       parties, failure to provide such service will render a robot that originally cost well over a million

               6       dollars inoperable. Many hospitals have multiple such robots that would thus be rendered

               7       inoperable.

               8              103.    Intuitive’s letter continues, stating that “[s]hould Intuitive or its personnel

               9       determine, after having accepted a service call or a purchase order for a service call, such as after

             10        an Intuitive Field Service Engineer arrives at your site for a service call, that the System has been

             11        used with instruments refurbished or modified by an unauthorized third party, Intuitive may not

             12        provide service for such a System.” Again, the threat is explicit—if the hospital uses refurbished

             13        instruments, Intuitive will render its surgical robot inoperable.

             14               104.    In private conversations, Intuitive representatives have made this threat even more

             15        explicit. In response to one hospital’s use of third-party repair services, an Intuitive representative

             16        stated that Intuitive would turn the surgical robot into a “paperweight.”

             17               105.    These threats provide further evidence of Intuitive improperly leveraging its

             18        monopoly power in the relevant markets to maintain its lucrative EndoWrist sales and margins,

             19        and to prevent the development of a repair market at all costs.

             20               106.    Intuitive has also engaged in other anticompetitive conduct to protect and expand

             21        its EndoWrist monopoly. As described herein, Intuitive unilaterally changes counter values and

             22        pricing for EndoWrist instruments, and has unilaterally changed IFUs to require replacement of

             23        EndoWrist instruments after an unreasonably low number of autoclave cycles.

             24               107.    For its most recent Xi generation of da Vinci robots and EndoWrist instruments,

             25        Intuitive has made an inordinate investment in encryption and other countermeasures of the

             26        internal EndoWrist chip. There is no technical or safety justification for these excessive efforts,

             27        except to prevent third parties such as SIS from accessing the counter. Specifically, it would not


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               1       be possible to operate an EndoWrist instrument with a da Vinci robot if other values of the

               2       EndoWrist chip such as the EndoWrist serial number were modified. Intuitive’s sole purpose is

               3       to prevent competition in repair services and to unjustifiably protect its supra-competitive

               4       EndoWrist profits. Intuitive’s anti-competitive conduct operates to the detriment of patients,

               5       hospitals, and SIS, by using unjustified technical measures to prevent an EndoWrist repair market

               6       from existing for the Xi EndoWrists.

               7              108.    In order to protect its EndoWrist monopoly pricing, Intuitive has taken steps to

               8       force customers to switch from da Vinci robots (typically “S” and “Si” robots) for which

               9       EndoWrist repair is possible to Xi da Vinci robots for which EndoWrist repair is not currently

             10        possible. For example, Intuitive has announced that as of 2023 it intends to stop selling S and Si

             11        EndoWrist instruments, and to discontinue providing service and technical support for da Vinci S

             12        and Si robots. By withdrawing service and technical support, Intuitive is effectively rendering

             13        these robots inoperable.

             14               109.    Intuitive has offered favorable terms and pricing to induce customers to move from

             15        S and Si da Vinci robots to Xi robots, knowing that it can recoup lost revenue many times over by

             16        preventing repair of Xi EndoWrist instruments.

             17               110.    In sum, Intuitive has gone to extraordinary efforts to leverage its monopoly power

             18        in robots for use in minimally invasive soft tissue surgery, the repair and support of those robotic

             19        systems, and its monopoly power in instruments for use with such robots to foreclose aftermarket

             20        repair of those instruments by any competitors. This costs hospitals and patients at least 30-45%

             21        per instrument (which savings would increase over time) or hundreds of millions of dollars a year

             22        in a $2.4 billion market, without any safety or technical justification.

             23                                                COUNT I – TYING
             24
                              111.    SIS incorporates all of the above paragraphs as though fully set forth herein.
             25
                              112.    Intuitive has dominant economic power in the worldwide and domestic markets for
             26
                       surgical robots for minimally invasive soft tissue surgery, for servicing, support and repair of those
             27


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               1       robots, and with respect to instruments for use with such robots. Intuitive has used this economic

               2       power to coerce its customers into buying EndoWrists from Intuitive rather than allowing the option
               3       of repairing EndoWrists through experienced service organizations such as SIS. Intuitive has
               4
                       conditioned the sale and servicing of its da Vinci surgical robots on customers buying replacement
               5
                       EndoWrists from Intuitive instead of permitting the use of EndoWrists that customers previously
               6
                       purchased but later had repaired, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. This
               7
                       tying arrangement has anticompetitive effects in the worldwide and domestic markets for repair and
               8

               9       replacement of instruments for surgical robots for minimally invasive soft tissue surgery, which

             10        involves a substantial amount of interstate commerce.

             11               113.    As a direct and proximate result of the foregoing conduct, Intuitive has forced
             12
                       customers to purchase unnecessary EndoWrists at supra-competitive prices, and SIS has been
             13
                       injured, including through lost profits, lost customers, and damage to its reputation and goodwill.
             14
                       These injuries are antitrust injuries, because they flow from that which makes Intuitive’s conduct
             15
                       unlawful under the Sherman Act.
             16

             17                                     COUNT II – EXCLUSIVE DEALING

             18               114.    SIS incorporates all of the above paragraphs as though fully set forth herein.
             19               115.    Intuitive has taken measures and entered into agreements with its customers that
             20
                       require the customers to replace their EndoWrist instruments on an exclusive basis with new
             21
                       Intuitive EndoWrists, thus foreclosing competition in the worldwide and domestic markets for
             22
                       repair and replacement of instruments for surgical robots for minimally invasive soft tissue surgery,
             23

             24        in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.            This exclusive dealing has

             25        anticompetitive effects in the worldwide and domestic markets for repair and replacement of these

             26        instruments, which involves a substantial amount of interstate commerce.
             27


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               1              116.    As a direct and proximate result of the foregoing conduct, Intuitive has forced

               2       customers to purchase unnecessary EndoWrists at supra-competitive prices, and SIS has been
               3
                       injured, including through lost profits, lost customers, and damage to its reputation and goodwill.
               4
                       These injuries are antitrust injuries, because they flow from that which makes Intuitive’s conduct
               5
                       unlawful under the Sherman Act.
               6
                                                     COUNT III – MONOPOLIZATION
               7

               8              117.    SIS incorporates all of the above paragraphs as though fully set forth herein.

               9              118.    Intuitive has willfully obtained and maintains monopoly power in the worldwide
             10        and domestic markets for repair and replacement of instruments for surgical robots for minimally
             11
                       invasive soft tissue surgery in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. Intuitive
             12
                       maintains at least a 99% market share by excluding competitors. Intuitive’s exclusionary tactics
             13
                       include tying EndoWrist replacements and repairs to sales and servicing of da Vinci surgical
             14

             15        robots, prohibiting customers from having their EndoWrists repaired, sending cease and desist

             16        letters when customers attempt to have EndoWrists repaired, and employing countermeasures to

             17        the Xi instrument usage counter to prevent any modification of the usage counter.
             18               119.    As a direct and proximate result of the foregoing conduct, Intuitive has forced
             19
                       customers to purchase unnecessary EndoWrists at supra-competitive prices, and SIS has been
             20
                       injured in its business and property, including through lost profits, lost customers, and damage to
             21
                       its reputation and goodwill. These injuries are antitrust injuries, because they flow from that which
             22

             23        makes Intuitive’s conduct unlawful under the Sherman Act.

             24                             COUNT IV – ATTEMPTED MONOPOLIZATION

             25               120.    SIS incorporates all of the above paragraphs as though fully set forth herein.
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               1              121.    Intuitive has acted with the clear intent to obtain monopoly power in the worldwide

               2       and domestic markets for the repair and replacement of instruments for surgical robots for
               3
                       minimally invasive soft tissue surgery in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.
               4
                       Intuitive has engaged in anticompetitive conduct including tying EndoWrist replacements and
               5
                       repairs to sales and servicing of da Vinci surgical robots, prohibiting customers from having their
               6
                       EndoWrists repaired, sending cease and desist letters when customers attempt to have EndoWrists
               7

               8       repaired, and employing countermeasures to the Xi instrument usage counter to prevent

               9       modification of the usage counter. Intuitive has at least a 99% market share and has a high
             10        probability of successfully monopolizing the market.
             11
                              70.     As a direct and proximate result of the foregoing conduct, Intuitive has forced
             12
                       customers to purchase unnecessary EndoWrists at supra-competitive prices, and SIS has been
             13
                       injured in its business and property, including through lost profits, lost customers, and damage to
             14

             15        its reputation and goodwill. These injuries are antitrust injuries, because they flow from that which

             16        makes Intuitive’s conduct unlawful under the Sherman Act.

             17             COUNT V- UNFAIR TRADE PRACTICES – VIOLATION OF LANHAM ACT
             18               122.    SIS incorporates all of the above paragraphs as though fully set forth herein.
             19
                              123.    Intuitive, in connection with the sale of its EndoWrist instruments, asserted false or
             20
                       misleading descriptions of facts or representations in its correspondence with its and SIS’s
             21
                       customers and such misrepresentations were likely to cause consumer confusion or inaccurately
             22

             23        describe the nature, characteristics, or qualities of its and SIS’s commercial activities in violation

             24        of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

             25               124.    Intuitive has at least misrepresented that SIS’s services are contrary to FDA
             26
                       approvals of the EndoWrist products and are in violation of intellectual property rights. Intuitive
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               1       sent such correspondence to multiple SIS customers and potential customers. Intuitive made such

               2       statements knowingly, willfully, and/or recklessly that such statements were misleading. These
               3
                       misleading statements affected the purchasing decisions of such customers.
               4
                              125.    Intuitive’s misrepresentations were made to SIS’s customers, and upon information
               5
                       and belief, a significant number of Intuitive customers that have, or had, Intuitive Si robots.
               6
                              126.    SIS has been injured in its business and property, including through lost profits, lost
               7

               8       customers, and damage to its reputation and goodwill. These injuries flow from that which makes

               9       Intuitive’s conduct unlawful under the Lanham Act. SIS is entitled to all relief available for such
             10        misleading statements, including but not limited to injunctive relief, disgorgement of Intuitive’s
             11
                       ill-gotten profits, recovery of SIS’s damages, attorneys' fees, the costs of this action, and treble
             12
                       damages under the Lanham Act, 15 U.S.C. § 1117(a).
             13

             14
                                                                Prayer for Relief
             15
                                 SIS respectfully requests that the Court enter judgment in its favor and against
             16
                       Intuitive as follows:
             17
                               (a) For damages in an amount to be determined at trial and trebled pursuant to 15
             18
                       U.S.C. §§ 15(a) and 1117(a);
             19
                               (b) For injunctive relief pursuant to 15 U.S.C. §§ 26 and 1116;
             20
                               (c) For costs and attorney’s fees incurred in this action pursuant to 15 U.S.C. §§ 15(a)
             21
                       and 1117(a);
             22
                               (d) For such other and further relief as the Court deems just and proper.
             23

             24
                                                                  Jury Demand
             25
                               Plaintiff demands trial by jury for all claims.
             26

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